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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1612V
                                        UNPUBLISHED


    NATHANIEL IAN BROOK,                                    Chief Special Master Corcoran

                        Petitioner,                         Filed: July 2, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Tetanus Diphtheria (Td)
                                                            Vaccine; Shoulder Injury Related to
                       Respondent.                          Vaccine Administration (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.

Andrew Henning, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT 1

      On October 16, 2019, Nathaniel Ian Brook filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) caused by a tetanus-diphtheria (“Td”) vaccination. Petition at 1.
The case was assigned to the Special Processing Unit of the Office of Special Masters.

       On July 2, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent has concluded that Petitioners’ medical course is consistent with
a SIRVA as defined by the Vaccine Injury Table. Id. at 5. Respondent further agrees that
Petitioner has satisfied all legal prerequisites for compensation under the Vaccine Act. Id.

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                              s/Brian H. Corcoran
                              Brian H. Corcoran
                              Chief Special Master




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